Case 4:06-cr-00182 Document1 Filed on 04/24/06 in TXSD Page 1 of 6

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United States District Court
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APR 24 2006
SOUTHERN DISTRICT OF TR) H
HOUSTON DIVISION Clerk of Court

UNITED stars OF AMERICA CRIMINAL COMPLAINT

Edilberto PORTILLO, a.k.a. "BETO" ms
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(Name and Address of Defendant) tey thin PAs caer é

prohibited by court o

I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about _ November 2, 2005

(Date)
the Southern District of

in Harris County, in

Texas defendant(s) did,
(Track Statutory Language of Offense)
knowingly and intentionally, combine, conspire, and agree with each other and others, to possess with intent to

distribute a controlled substance. The overall scope of the conspiracy involves five (5) kilograms or more of a
mixture or substance containing a detectable amount of Cocaine, a Schedule II Controlled Substance,

 

 

in violation of Title 21 United States Code, Section(s) 841 (a)(1), 841 (b)(1)(A)(ii), and 846 |
I further state that I am a(n) DEA Special Agent and that this complaint is based on the
Official Title
following facts:
SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part of this complaint! h4 Yes 0 No

Signature of Complainant

Special Agent Roy Brashier

Printed Name of Complainant

Sworn to before me and signed in my presence, and I find probable cause.

April 24, 2006
Date

City State
Calvin Botley United States Magistrate Judge (An Crees
Narne of Judge -

Title of Judge Signattreof Judge

at Houston, Texas

 
Case 4:06-cr-00182 Document1 Filed on 04/24/06 in TXSD Page 2 of 6

AFFIDAVIT IN SUPPORT OF COMPLAINT
Roy Brashier, being duly sworn, deposes and states:

I am a Special Agent for the United States Drug Enforcement Administration (DEA),
currently assigned to the Houston Division Office, Houston, Texas. I have been
employed by the DEA for approximately three (3) years. As a Special Agent, I am
empowered by Title 21, United States Code, Section 878 to make arrests and obtain
search warrants.

In connection with my official duties, I investigate criminal and civil violations of the
Controlled Substances Act. I have received special training in the enforcement of laws
concerning controlled substances as found in Title 21, United States Code. In connection
with my official duties and responsibilities as a Federal Law Enforcement Officer, I have
experience in the debriefing of defendants, witnesses, confidential sources, and other
persons who have knowledge of the manufacturing, distribution, and transportation of
controlled substances and of the laundering and concealing of proceeds from drug
trafficking. In connection with my official duties and responsibilities, I have testified in
drug investigations and have participated in the execution of numerous arrest and search
warrants.

I submit this affidavit in support of my belief that probable cause exists to believe that
Edilberto PORTILLO, a.k.a. BETO; Eresto CURENO, a.k.a. CHILANGO; and Donald
HARTWIG, a.k.a. GRANDFATHER are members of the Houston-based PORTILLO
drug trafficking and money laundering organization.

On November 2, 2005, DEA Houston Special Agents established surveillance of
CARNAVAL NIGHTCLUB at 8150 Southwest Freeway, Houston, Texas. CARNAVAL
NIGHTCLUB is owned by Edilberto PORTILLO. At approximately 11:36 a.m., agents
observed a white Lincoln Town Car, bearing Missouri license plate 226XSR', drive
through the rear alley of CARNAVAL NIGHTCLUB, circle the entire building, and
return to the rear alley where he parked near the rear entrance to the CARNAVAL
NIGHTCLUB. Agents determined the driver of the vehicle was Donald HARTWIG.
Your Affiant was aware that HARTWIG was previously arrested on June 30, 2005, for
Possession with Intent to Distribute approximately 64 kilograms of cocaine near Tampa,
Florida, and was believed to be a transporter of cocaine for the PORTILLO drug
trafficking organization. At approximately 11:54 am., agents observed Edilberto
PORTILLO arrive driving a silver Lincoln pickup bearing Texas license plate O7NWV2”
and park near the rear entrance to CARNAVAL NIGHTCLUB. Agents observed
PORTILLO and HARTWIG enter the rear nonpublic entrance to the CARNAVAL
NIGHTCLUB together. At approximately 12:08 p.m., agents observed PORTILLO and

 

' According to the Missouri Department of Motor Vehicles records, 226XSR is a 2005 Lincoln Town Car
registered to PV Holding Corp, Saint Louis, MO. Agents later determined the vehicle was an AVIS rental
car.

? According to the Texas Department of Motor Vehicle records, O7NWV2 is a 2006 Lincoln Mark LT
registered to Edilberto PORTILLO, 2311 Colby Lodge, Katy, Texas.
Case 4:06-cr-00182 Document1 Filed on 04/24/06 in TXSD Page 3 of 6

HARTWIG exit the rear door of CARNAVAL NIGHTCLUB and depart the location in
their respective vehicles. Agents followed HARTWIG, and at approximately 1:24 p.m.,
HARTWIG arrived at his residence at 14200 Hooper Road, Houston, Texas.
Surveillance was later terminated on HARTWIG.

Early the next morning and throughout the day on November 3, 2005, DEA Houston
agents attempted to locate HARTWIG and the white Lincoln Town car without success.
Agents determined that the white Lincoln Town Car bearing Missouri license plate
226XSR which HARTWIG had been driving the previous day was in fact an Avis rental
car rented near the Galleria Mall, Houston, Texas. Agents learned from an Avis
representative that the person who rented the vehicle, Ernesto CURENO, an employee of
CARNAVAL NIGHTCLUB, inquired about a one-way rental from Houston, Texas, to
Atlanta, Georgia, but Avis did not allow one-way rentals. DEA agents, having reason to
believe the white Lincoln Town car may be utilized to transport a shipment of narcotics
to Atlanta, Georgia, and that HARTWIG had already departed Houston en-route to
Atlanta, contacted Georgia State Police and provided information regarding the
description of the Lincoln Town car and HARTWIG’s previous delivery of cocaine in
Florida. DEA agents communicated to the Georgia State Police that it should be on the
lookout for the vehicle as it may contain illegal drugs.

On November 4, 2005, at approximately 1:40 p.m. EST, Georgia State- Trooper J.R.
Traylor stopped the white Lincoln Town car bearing Missouri license plate 226XSR for a
traffic violation while northbound on Interstate 85. Trooper Traylor identified the driver
of the Lincoln as Donald HARTWIG. Trooper Traylor noticed that HARTWIG was not
listed on the rental agreement provided to him by HARTWIG. Trooper Traylor contacted
Avis and advised them of the situation. The Avis representative requested that the
vehicle be seized and towed since the listed authorized drivers on the contract for the
vehicle were not present within the vehicle. The Avis representative advised the trooper
this voided the contract.

Due to the discrepancy in the rental agreement Trooper Traylor approached HARTWIG
and advised HARTWIG that the vehicle would be seized and returned to Avis. Trooper
Traylor asked HARTWIG about the four large bags he observed in plain view in the back
seat of the Lincoln. HARTWIG stated he owned the small pull-behind bag and the hang-
up clothes. HARTWIG related that the other bags belonged to Frank RODRIGUEZ’, the
additional driver listed on the rental agreement. According to Trooper Traylor,
HARTWIG also stated there was nothing in the trunk. Trooper Traylor received verbal
and written consent to search HARTWIG’s bag from HARTWIG. HARTWIG limited
his consent to the property he claimed. HARTWIG’s bag was searched, but nothing
illegal was found. Trooper Traylor made a second call to Avis to confirm that Avis

 

3 The Avis rental agreement listed Frank RODRIGUEZ, 208 Adair Avenue, Atlanta, Georgia, as an
additional driver. The rental agreement showed a Georgia driver’s license #063187853 and a date of birth
of April 19, 1957 for RODRIGUEZ. It should be noted, according to DEA Houston TFA Greg
Hasselburger, in March of 2002, RODRIGUEZ attempted to purchase fifty (50) kilograms of cocaine from
aconfidential source in Houston, Texas.
Case 4:06-cr-00182 Document1 Filed on 04/24/06 in TXSD Page 4 of 6

wanted the vehicle seized and towed. The Avis representative responded in the
affirmative.

Trooper Traylor requested his dispatcher send a wrecker to his location. Trooper Traylor
allowed HARTWIG to retrieve his property from within the vehicle. HARTWIG’s
property consisted of a Cingular cellular telephone (713-397-1000), a Nextel cellular
telephone (985-215-8693), and glasses. Trooper Traylor began an inventory of the
contents of the vehicle. Trooper Traylor opened one of the bags in the back seat of the
Lincoln and discovered it to be filled with kilogram-sized packages, which later tested
positive for the presence of cocaine. Trooper Traylor placed HARTWIG under arrest.
Trooper Traylor continued to search and discovered the other bags in the back seat were
filled with kilograms of cocaine as was the entire trunk area of the vehicle. Georgia State
Police inventoried three-hundred eighty-eight (388) kilograms of cocaine. HARTWIG
was charged with Trafficking in Cocaine and placed into the Troup County jail.
HARTWIG was transferred from State of Georgia custody to the custody of the United
States Marshals Service in February 2006, after he was indicted in a drug conspiracy
stemming from the 64-kilogram cocaine seizure in Tampa, Florida, on June 30, 2005.
HARTWIG was arraigned on February 8, 2006, and is currently being held without bond.

After his arrest on November 7, 2005, HARTWIG was interviewed by DEA Houston
Group Supervisor Cam Strahm and Task Force Officer Greg Raider. During the
interview, HARTWIG confirmed that he was in contact with PORTILLO during his trip
to Atlanta, Georgia. HARTWIG stated that he talked to PORTILLO approximately one
hour before he was stopped by the Georgia State Police. HARTWIG further stated that
he had been in contact with PORTILLO four times on November 4, 2005. HARTWIG
stated that upon being pulled over, he called PORTILLO to advise PORTILLO that he
was getting a ticket and that he would not be at the show and to ask PORTILLO to notify
his friends of the incident. HARTWIG indicated he did not mention to PORTILLO that
he knew he would be arrested for transporting cocaine. Houston DEA agents verified
through review of phone records that HARTWIG was in contact with a phone believed to
be used by PORTILLO. HARTWIG further stated that on Wednesday night, unknown
Mexican males came to 14200 Hooper Road to get the rental vehicle to load it, and that
he knew, “In his heart” that it was loaded with cocaine.

According to Avis Rental Car Company, Emesto CURENO was the individual who
rented the vehicle.* On November 10, 2005, S/As R. Scott Hicks and Patricia Trevino,
and TFO Greg Raider went to the residence of CURENO to interview him regarding his
knowledge of the vehicle rental and the cocaine seizure.” The interview was conducted

 

* There was an additional driver listed on the rental agreement, Frank RODRIGUEZ, 208 Adair Avenue,
Atlanta, Georgia. The rental agreement showed a Georgia driver’s license #063187853 and a date of birth
of April 19, 1957 for RODRIGUEZ. It should be noted, according to DEA Houston TFA Greg
Hasselburger, in March of 2002, RODRIGUEZ attempted to purchase fifty (50) kilograms of cocaine from
aconfidential source in Houston, Texas.

> It should be noted, the address listed on the vehicle rental agreement showed CURENO’s residence as
apartment #508. The address on CURENO’s Texas driver’s license shows apartment #508. However,
according to Southwestern Bell Telephone Company, the telephone number CURENO listed on the rental
agreement is serviced at apartment #211. Agents first attempted apartment #211, where CURENO,
Case 4:06-cr-00182 Document1 Filed on 04/24/06 in TXSD Page 5 of 6

in both Spanish and English. CURENO initially told agents that he rented the vehicle for
a friend, JOSE LNU, and did not know anything about the seizure. CURENO stated he
did not have a contact telephone number for JOSE LNU, nor did he know where JOSE
LNU resided. CURENO also told agents that he worked at CARNAVAL NIGHTCLUB
doing maintenance. When CURENO was advised that agents did not believe his story,
he became visibly nervous. CURENO indicated to agents that he preferred to speak in
private.

Thereafter, CURENO admitted to agents that he rented the vehicle for members of the
PORTILLO drug organization. CURENO stated he was paid $1,000.00 by members of
the organization to rent the vehicle utilized by HARTWIG. CURENO stated to agents he
could provide information regarding the organization’s importation, transportation, and
distribution of cocaine. CURENO stated that he feared cooperating as he felt in danger
for his life because the organization is large-scale and violent.

CURENO advised agents that he would meet with them later in the afternoon to continue
their conversation, and CURENO would provide agents with more information regarding
the organization. Later that afternoon, S/A Hicks was contacted by an attorney for
CURENO, and advised that CURENO did not wish to have further communications with
law enforcement.

On April 12, 2006, Carlos Guillermo GOMEZ-DOMINGUEZ, a.k.a. Abel Aranda
SALGADO, a.k.a. LINK, made post arrest statements to DEA Atlanta TFO Ronald D.
Gooden. GOMEZ-DOMINGUEZ was previously arrested by FBI Atlanta for
Conspiracy to Possess with Intent to Distribute cocaine. According to TFO Gooden,
during the debriefing, GOMEZ-DOMINGUEZ stated he met and started buying cocaine
from PORTILLO in early 2004. GOMEZ-DOMINGUEZ stated he purchased five (5) to
eight (8) kilograms of cocaine per week from PORTILLO. GOMEZ-DOMINGUEZ
stated he paid $19,000 per kilogram. GOMEZ-DOMINGUEZ stated he purchased
approximately 100 kilograms of cocaine from PORTILLO over the past two years.
GOMEZ-DOMINGUEZ stated he was aware of the seizure of three-hundred eight-eight
(388) kilograms of cocaine because he had discussed the seizure with PORTILLO.
GOMEZ-DOMINGUEZ related PORTILLO had advised him that “Don” had been
arrested with the three-hundred eighty-eight kilograms of cocaine and that “Don” was the
same “old man” that had previously dropped off shipments of cocaine at GOMEZ-
DOMINGUEZ?’ house. GOMEZ-DOMINGUEZ was aware that “Don” (HARTWIG)
had previously been arrested in Tampa, Florida related to drug charges. GOMEZ-
DOMINGUEZ stated the PORTILLO organization had, on three (3) to four (4)
occasions, delivered eighty (80) to one-hundred (100) kilograms shipments of cocaine to
his house. GOMEZ-DOMINGUEZ stated he was paid $4,000 per shipment to assist the
PORTILLO organization by allowing it to use his house as a place where the
organization would break-down the drug quantities before the drugs were delivered to
distributors. GOMEZ-DOMINGUEZ stated the shipment of cocaine would be broken
down from large bundles in order to facilitate its distribution in the Atlanta, Georgia area.

 

himself, answered the door.
Case 4:06-cr-00182 Document1 Filed on 04/24/06 in TXSD Page 6 of 6

Based upon the aforementioned information, it is your affiant’s belief that Edilberto
PORTILLO, a.k.a. BETO; Ernesto CURENO, a.k.a. CHILANGO; and Donald
HARTWIG, a.k.a. GRANDFATHER are members of the Houston based PORTILLO
drug trafficking and money laundering organization.

Tey Bia

Roy Brashier
Special Agent
Drug Enforcement Administration

 

Sworn to before me and subscribed in my presence this BLT ay of April 2006, and I
hereby find probable cause.

(rad Ferrey

CALVIN BOTLEY
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF TEXAS
